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                    TRANSFERS TO RAMON E. MORALES dba MORALES DISTRIBUTORS
                                   Date        Payment Amount
                                  5/8/2013            $15,931.00
                                  5/8/2013               $678.00
                                  6/7/2013               $300.00
                                  6/7/2013                $74.00
                                  6/7/2013                $76.00
                                  6/7/2013               $699.00
                                  6/7/2013               $144.00
                                  6/7/2013            $47,937.00
                                  6/7/2013               $149.00
                                  6/7/2013            $62,423.00
                                  6/7/2013             $1,450.00
                                  6/7/2013               $202.00
                                  6/7/2013               $223.00
                                 7/15/2013                $78.00
                                 7/15/2013               $135.00
                                 7/15/2013            $48,011.00
                                 7/15/2013            $59,691.00
                                 7/15/2013               $908.00
                                 7/15/2013               $189.00
                                 7/15/2013             $1,407.00
                                 7/15/2013             $1,610.00
                                 7/15/2013               $216.00
                                 7/15/2013               $241.00
                                  8/7/2013               $298.00
                                  8/7/2013                $62.00
                                  8/7/2013               $354.00
                                  8/7/2013                $91.00
                                  8/7/2013                $96.00
                                  8/7/2013               $769.00
                                  8/7/2013            $41,049.00
                                  8/7/2013            $46,875.00
                                  8/7/2013               $149.00
                                  8/7/2013               $172.00
                                  8/7/2013             $1,510.00
                                  8/7/2013             $1,603.00
                                 9/12/2013                $74.00
                                 9/12/2013             $3,463.00
                                 9/12/2013             $3,799.00
                                 9/12/2013               $586.00
                                 9/12/2013            $33,871.00
                                 9/12/2013            $38,031.00
                                10/29/2013             $2,251.00
                                10/29/2013             $1,000.00
                                 11/1/2013             $3,237.00
                                 11/1/2013            $16,616.00
                                 11/5/2013             $2,966.00

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                    TRANSFERS TO RAMON E. MORALES dba MORALES DISTRIBUTORS
                                   Date        Payment Amount
                                 11/5/2013            $15,585.00
                                11/21/2013               $144.00
                                11/27/2013             $1,122.00
                                12/19/2013                $67.00
                                12/19/2013                $70.00
                                12/19/2013               $310.00
                                12/19/2013               $377.00
                                12/19/2013               $446.00
                                12/19/2013               $608.00
                                12/19/2013               $653.00
                                12/19/2013            $47,536.00
                                12/19/2013               $149.00
                                12/19/2013            $53,578.00
                                12/19/2013               $900.00
                                12/19/2013               $154.00
                                12/19/2013                $13.00
                                12/19/2013                $29.00
                                12/19/2013               $234.00
                                12/19/2013                $41.00
                                12/19/2013             $1,920.00
                                12/19/2013                $46.00
                                12/31/2013            $39,038.00
                                12/31/2013            $66,377.00
                                  1/9/2014               $305.00
                                  1/9/2014            $40,349.00
                                  1/9/2014               $144.00
                                  1/9/2014            $51,306.00
                                  1/9/2014               $161.00
                                  1/9/2014               $212.00
                                 1/15/2014               $300.00
                                 1/15/2014               $300.00
                                 1/15/2014               $189.00
                                 1/15/2014                $46.00
                                  2/6/2014               $149.00
                                  2/6/2014                $26.00
                                  2/6/2014                $38.00
                                  2/6/2014               $228.00
                                 2/10/2014               $308.00
                                 2/10/2014               $374.00
                                 2/10/2014               $488.00
                                 2/10/2014                $99.00
                                 2/10/2014            $32,549.00
                                 2/10/2014               $156.00
                                 2/10/2014             $1,195.00
                                 2/11/2014                $71.00
                                 2/11/2014             $3,261.00

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                    TRANSFERS TO RAMON E. MORALES dba MORALES DISTRIBUTORS
                                   Date        Payment Amount
                                 2/11/2014            $43,541.00
                                 2/11/2014             $1,125.00
                                 2/18/2014                $65.00
                                 2/18/2014                $88.00
                                 2/18/2014                $99.00
                                 2/18/2014                $38.00
                                  3/7/2014               $137.00
                                  3/7/2014               $139.00
                                  3/7/2014               $194.00
                                 3/17/2014               $283.00
                                 3/17/2014             $2,446.00
                                 3/17/2014                $81.00
                                 3/17/2014               $104.00
                                 3/17/2014               $837.00
                                 3/17/2014                $12.00
                                 3/17/2014                $46.00
                                 3/18/2014                $82.00
                                 3/18/2014            $41,934.00
                                 3/25/2014               $122.00
                                 3/25/2014            $40,818.00
                                 3/25/2014               $149.00
                                 3/25/2014               $202.00
                                  4/7/2014               $264.00
                                  4/7/2014                $78.00
                                  4/7/2014               $123.00
                                  4/7/2014               $126.00
                                  4/7/2014               $138.00
                                  4/7/2014                $12.00
                                 4/14/2014             $9,745.00
                                 4/15/2014                $90.00
                                 4/15/2014            $33,491.00
                                 4/15/2014             $1,534.00
                                 4/28/2014            $11,322.00
                                 4/28/2014               $662.00
                                 4/28/2014                $46.00
                                 4/29/2014            $44,319.00
                                 5/29/2014             $2,051.00
                                 5/29/2014               $298.00
                                 5/29/2014             $3,360.00
                                 5/29/2014             $3,599.00
                                 5/29/2014               $572.00
                                 5/29/2014               $149.00
                                 5/29/2014               $150.00
                                 5/29/2014             $1,005.00
                                 5/29/2014                $13.00
                                 5/29/2014               $211.00

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                    TRANSFERS TO RAMON E. MORALES dba MORALES DISTRIBUTORS
                                   Date        Payment Amount
                                 5/29/2014               $215.00
                                 5/29/2014               $235.00
                                 6/12/2014                $63.00
                                 6/12/2014                $70.00
                                 6/12/2014                $74.00
                                 6/12/2014               $120.00
                                 6/12/2014            $23,074.00
                                 6/12/2014             $1,054.00
                                 6/12/2014                $38.00
                                 6/12/2014                $46.00
                                 6/16/2014            $15,688.00
                                 6/16/2014               $891.00
                                 6/16/2014             $1,479.00
                                 6/16/2014               $231.00
                                 6/17/2014                $15.00
                                 6/17/2014                $48.00
                                 6/20/2014               $135.00
                                 6/30/2014            $19,259.00
                                  7/1/2014               $271.00
                                  7/1/2014               $423.00
                                  7/1/2014               $865.00
                                  7/1/2014             $1,105.00
                                  7/1/2014             $1,140.00
                                  7/8/2014               $261.00
                                  7/8/2014               $290.00
                                  7/8/2014               $341.00
                                  7/8/2014               $395.00
                                  7/8/2014            $22,227.00
                                  7/8/2014               $156.00
                                  7/8/2014               $207.00
                                 7/11/2014                $72.00
                                 7/21/2014                $58.00
                                 7/21/2014               $326.00
                                 7/21/2014                $82.00
                                 7/21/2014               $507.00
                                 8/18/2014                $63.00
                                 8/18/2014                $65.00
                                 8/18/2014               $372.00
                                 8/18/2014                $95.00
                                 8/18/2014               $505.00
                                 8/18/2014               $511.00
                                 8/18/2014             $9,411.00
                                 8/18/2014               $570.00
                                 8/18/2014            $13,289.00
                                 8/18/2014               $135.00
                                 8/18/2014               $922.00

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                    TRANSFERS TO RAMON E. MORALES dba MORALES DISTRIBUTORS
                                   Date        Payment Amount
                                 8/18/2014               $152.00
                                 8/18/2014               $943.00
                                 8/18/2014             $1,261.00
                                 9/11/2014                $65.00
                                 9/11/2014             $1,879.00
                                 9/24/2014               $302.00
                                 9/24/2014               $302.00
                                 9/24/2014               $390.00
                                 9/24/2014             $4,749.00
                                 9/24/2014            $14,463.00
                                 9/24/2014            $18,310.00
                                 9/25/2014             $2,384.00
                                 9/25/2014               $620.00
                                 9/25/2014             $1,503.00
                                 11/4/2014             $4,807.00
                                11/14/2014             $5,252.00
                                11/14/2014               $818.00
                                11/14/2014             $1,138.00
                                11/19/2014               $257.00
                                11/19/2014                $72.00
                                11/19/2014             $4,571.00
                                11/19/2014               $124.00
                                11/19/2014               $718.00
                                11/19/2014               $172.00
                                11/24/2014                $98.00
                                11/26/2014                $55.00
                                11/26/2014                $70.00
                                11/26/2014               $456.00
                                11/26/2014             $1,512.00
                                 12/3/2014               $272.00
                                 12/3/2014               $174.00
                                 12/3/2014             $1,176.00
                                 12/3/2014             $1,243.00
                                 12/4/2014               $454.00
                                 12/4/2014               $624.00
                                 12/4/2014               $878.00
                                 12/4/2014             $1,144.00
                                 12/5/2014               $351.00
                                 12/5/2014               $107.00
                                 12/5/2014               $129.00
                                 12/5/2014               $781.00
                                 12/8/2014               $860.00
                                 12/9/2014               $306.00
                                 12/9/2014               $325.00
                                 12/9/2014             $4,394.00
                                 12/9/2014             $5,380.00

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                    TRANSFERS TO RAMON E. MORALES dba MORALES DISTRIBUTORS
                                   Date        Payment Amount
                                 12/9/2014             $6,985.00
                                 12/9/2014               $571.00
                                 12/9/2014               $845.00
                                 12/9/2014               $865.00
                                 12/9/2014               $189.00
                                12/10/2014               $311.00
                                12/10/2014               $100.00
                                12/10/2014               $580.00
                                12/23/2014               $225.00
                                12/26/2014               $385.00
                                12/26/2014             $5,525.00
                                12/26/2014               $116.00
                                12/26/2014               $130.00
                                12/26/2014               $169.00
                                12/30/2014               $254.00
                                12/30/2014                $54.00
                                12/30/2014                $70.00
                                12/30/2014               $356.00
                                12/30/2014               $142.00
                                12/30/2014               $142.00
                                12/30/2014                $14.00
                                12/30/2014               $193.00
                                12/30/2014                $21.00
                                12/30/2014               $238.00
                                  1/2/2015               $135.00
                                  1/6/2015             $2,640.00
                                  1/6/2015             $3,302.00
                                  1/6/2015             $4,452.00
                                 1/12/2015             $2,470.00
                                 1/12/2015             $2,505.00
                                 1/12/2015             $3,042.00
                                 1/12/2015             $3,993.00
                                 1/12/2015             $4,029.00
                                 1/14/2015                $50.00
                                 1/14/2015                $55.00
                                 1/14/2015                $55.00
                                 1/14/2015                $63.00
                                 1/14/2015                $66.00
                                 1/14/2015                $70.00
                                 1/14/2015                $71.00
                                 1/14/2015               $315.00
                                 1/14/2015             $3,701.00
                                 1/14/2015               $431.00
                                 1/14/2015               $432.00
                                 1/14/2015                $91.00
                                 1/14/2015                $94.00

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                    TRANSFERS TO RAMON E. MORALES dba MORALES DISTRIBUTORS
                                   Date        Payment Amount
                                 1/14/2015               $507.00
                                 1/14/2015               $107.00
                                 1/14/2015               $116.00
                                 1/14/2015               $123.00
                                 1/14/2015               $144.00
                                 1/14/2015                $10.00
                                 1/14/2015                $10.00
                                 1/14/2015                $10.00
                                 1/14/2015                $16.00
                                 1/14/2015               $192.00
                                 1/14/2015               $200.00
                                 1/14/2015               $213.00
                                 1/14/2015                $36.00
                                 1/14/2015               $227.00
                                 1/14/2015                $44.00
                                 1/21/2015             $3,304.00
                                 1/21/2015             $5,432.00
                                 1/21/2015            $14,196.00
                                 1/21/2015            $18,349.00
                                 1/21/2015            $23,465.00
                                 1/27/2015             $9,898.00
                                 1/29/2015             $4,654.00
                                  2/3/2015                $50.00
                                  2/3/2015                $78.00
                                  2/3/2015                $80.00
                                  2/3/2015                $38.00
                                  2/6/2015                $10.00
                                  2/6/2015                $10.00
                                  2/6/2015                $10.00
                                  2/6/2015                $30.00
                                 2/17/2015             $4,378.00
                                 2/17/2015             $6,775.00
                                 2/18/2015             $7,002.00
                                 2/24/2015               $266.00
                                 2/24/2015               $364.00
                                 2/24/2015               $458.00
                                 2/24/2015             $6,282.00
                                 2/24/2015             $6,658.00
                                 2/24/2015               $139.00
                                 2/24/2015                $10.00
                                 2/24/2015                $35.00
                                 3/17/2015             $8,911.00
                                 3/20/2015             $6,822.00
                                 3/25/2015             $2,720.00
                                 3/25/2015             $6,620.00
                                 3/25/2015             $9,833.00

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                    TRANSFERS TO RAMON E. MORALES dba MORALES DISTRIBUTORS
                                   Date        Payment Amount
                                 3/30/2015             $1,470.00
                                 3/31/2015               $348.00
                                 3/31/2015               $120.00
                                 3/31/2015               $202.00
                                 4/14/2015             $6,211.00
                                 4/14/2015             $9,134.00
                                 4/14/2015               $162.00
                                 4/15/2015             $9,115.00
                                 4/21/2015               $446.00
                                 4/21/2015             $7,694.00
                                 4/21/2015            $10,085.00
                                 4/21/2015               $140.00
                                 4/21/2015               $195.00
                                 4/22/2015             $2,111.00
                                 4/22/2015             $3,108.00
                                 4/22/2015             $3,115.00
                                 4/22/2015             $9,151.00
                                 4/22/2015            $10,585.00
                                 4/22/2015               $189.00
                                 4/22/2015               $191.00
                                 4/22/2015             $1,736.00
                                 4/27/2015               $255.00
                                 4/27/2015                $60.00
                                 4/27/2015               $308.00
                                 4/27/2015               $105.00
                                 4/27/2015            $15,369.00
                                 4/27/2015               $668.00
                                 4/27/2015               $128.00
                                 4/27/2015               $984.00
                                 4/27/2015               $168.00
                                 4/27/2015               $199.00
                                 4/27/2015                $21.00
                                 4/27/2015                $29.00
                                 4/27/2015                $32.00
                                 4/27/2015               $215.00
                                 4/27/2015               $242.00
                                 4/28/2015             $3,304.00
                                 4/28/2015             $7,223.00
                                 4/30/2015                $49.00
                                 4/30/2015                $49.00
                                 4/30/2015                $97.00
                                 4/30/2015                $97.00
                                 4/30/2015               $126.00
                                 4/30/2015               $151.00
                                 4/30/2015             $1,665.00
                                 4/30/2015                $48.00

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                    TRANSFERS TO RAMON E. MORALES dba MORALES DISTRIBUTORS
                                   Date        Payment Amount
                                  5/1/2015               $288.00
                                  5/1/2015             $3,383.00
                                  5/6/2015             $3,915.00
                                 5/12/2015             $3,572.00
                                 5/12/2015             $5,373.00
                                 5/12/2015             $6,028.00
                                 5/12/2015             $6,668.00
                                 5/12/2015               $930.00
                                 5/14/2015               $327.00
                                 5/14/2015                $86.00
                                 5/18/2015               $255.00
                                 5/18/2015               $334.00
                                 5/18/2015               $423.00
                                 5/18/2015               $500.00
                                 5/18/2015               $519.00
                                 5/18/2015               $523.00
                                 5/18/2015               $821.00
                                 5/19/2015             $2,230.00
                                 5/19/2015             $7,722.00
                                 5/21/2015               $299.00
                                 5/21/2015             $6,121.00
                                 5/26/2015            $10,322.00
                                 6/16/2015             $7,140.00
                                 6/16/2015               $558.00
                                 6/16/2015             $4,558.00
                                 6/22/2015             $3,623.00
                                 6/24/2015                $44.00
                                 6/24/2015                $55.00
                                 6/30/2015             $1,110.00
                                 7/14/2015             $8,448.00
                                 7/14/2015               $102.00
                                 7/14/2015                $10.00
                                 7/14/2015                $30.00
                                 7/14/2015                $31.00
                                 7/14/2015                $39.00
                                 7/14/2015                $40.00
                                 7/14/2015                $48.00
                                 7/14/2015                $48.00
                                 7/14/2015                $48.00
                                 7/14/2015                $57.00
                                 7/14/2015                $77.00
                                 7/14/2015                $94.00
                                 7/14/2015                $95.00
                                 7/14/2015               $136.00
                                 7/14/2015               $143.00
                                 7/14/2015               $186.00

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                 TRANSFERS TO RAMON E. MORALES dba MORALES DISTRIBUTORS
                                Date        Payment Amount
                              7/14/2015               $190.00
                              7/20/2015             $1,090.00
                              7/21/2015             $1,779.00
                              7/21/2015             $4,325.00
                              7/22/2015               $151.00
                              7/22/2015               $393.00
                              7/22/2015                $44.00
                              7/22/2015                $48.00
                              7/22/2015                $48.00
                              7/22/2015             $2,176.00
                              7/22/2015             $2,489.00
                              7/22/2015             $7,171.00
                              7/22/2015               $217.00
                              7/22/2015               $294.00
                              7/22/2015               $411.00
                              7/22/2015               $476.00
                              7/22/2015               $525.00
                              7/22/2015               $915.00
                              7/27/2015             $1,649.00
                              7/27/2015               $406.00
                              7/27/2015             $6,252.00
                              7/27/2015             $5,077.00
                              7/29/2015             $5,924.00
                              7/31/2015               $370.00
                              7/31/2015             $6,276.00
                              8/10/2015               $125.00
                              8/10/2015               $190.00
                              8/10/2015               $169.00
                              8/10/2015               $533.00
                              8/11/2015             $2,727.00
                              8/11/2015               $867.00
                              8/19/2015               $381.00
                              8/19/2015             $5,449.00
                              8/19/2015             $5,811.00
                              8/21/2015             $3,231.00
                              8/21/2015             $1,056.00
                              8/24/2015             $1,989.00
                              8/24/2015               $379.00
                              8/24/2015             $4,783.00
                              8/25/2015             $2,952.00
                              8/25/2015             $4,489.00
                              8/25/2015             $6,520.00
                              8/25/2015               $233.00
                              8/26/2015             $7,327.00
                              8/27/2015               $203.00
                              8/27/2015                $63.00

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                 TRANSFERS TO RAMON E. MORALES dba MORALES DISTRIBUTORS
                                Date        Payment Amount
                              8/27/2015               $227.00
                               9/9/2015               $468.00
                               9/9/2015               $108.00
                               9/9/2015             $1,365.00
                               9/9/2015             $2,097.00
                               9/9/2015             $2,180.00
                               9/9/2015             $2,141.00
                               9/9/2015               $175.00
                              9/14/2015               $116.00
                              9/14/2015             $2,014.00
                              9/23/2015               $113.00
                              10/7/2015             $1,367.00
                              10/7/2015             $1,454.00
                              10/7/2015               $642.00
                              10/7/2015             $1,777.00
                              10/7/2015             $3,979.00
                              10/7/2015             $5,841.00
                              10/7/2015               $920.00
                              10/7/2015             $1,629.00
                              10/7/2015               $466.00
                             10/15/2015             $1,534.00
                             10/19/2015               $518.00
                             10/19/2015               $366.00
                             10/19/2015               $173.00
                             10/19/2015               $120.00
                             10/19/2015               $190.00
                             10/19/2015               $480.00
                             10/19/2015                $30.00
                             10/19/2015               $448.00
                             10/19/2015               $120.00
                             10/19/2015               $269.00
                             10/19/2015                $95.00
                             10/19/2015               $477.00
                             10/19/2015               $175.00
                             10/20/2015             $1,040.00
                             10/21/2015             $8,205.00
                             10/26/2015             $1,530.00
                             10/26/2015               $161.00
                             10/26/2015                $77.00
                             10/26/2015             $4,438.00
                              11/2/2015               $284.00
                              11/2/2015               $218.00
                              11/2/2015             $2,523.00
                              11/2/2015                $55.00
                              11/2/2015             $1,396.00
                              11/3/2015                $89.00

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                 TRANSFERS TO RAMON E. MORALES dba MORALES DISTRIBUTORS
                                Date        Payment Amount
                              11/9/2015               $212.00
                              11/9/2015               $161.00
                              11/9/2015               $751.00
                             11/23/2015               $233.00
                             11/23/2015             $2,089.00
                             11/23/2015             $3,664.00
                             12/15/2015               $568.00
                             12/15/2015               $390.00
                             12/15/2015             $1,918.00
                             12/15/2015             $2,686.00
                             12/15/2015             $2,459.00
                             12/15/2015               $808.00
                             12/15/2015             $5,214.00
                             12/15/2015             $5,935.00
                             12/15/2015               $774.00
                             12/15/2015             $2,214.00
                             12/16/2015             $2,077.00
                             12/16/2015                $67.00
                             12/18/2015             $2,279.00
                             12/18/2015                $75.00
                             12/21/2015               $723.00
                             12/22/2015                $44.00
                             12/22/2015             $1,110.00
                             12/29/2015             $1,101.00
                             12/29/2015             $4,209.00
                             12/29/2015               $878.00
                             12/29/2015               $295.00
                             12/29/2015             $1,955.00
                             12/29/2015             $2,168.00
                             12/30/2015             $3,402.00
                             12/30/2015             $1,836.00
                               1/4/2016             $2,670.00
                               1/4/2016             $4,315.00
                               1/4/2016             $1,818.00
                               1/4/2016               $216.00
                               1/5/2016               $263.00
                              1/11/2016             $4,455.00
                              1/11/2016             $4,518.00
                              1/11/2016               $238.00
                              1/11/2016               $350.00
                              1/11/2016                $48.00
                              1/11/2016                $48.00
                              1/11/2016                $48.00
                              1/11/2016                $60.00
                              1/11/2016                $63.00
                              1/11/2016                $74.00

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                 TRANSFERS TO RAMON E. MORALES dba MORALES DISTRIBUTORS
                                Date        Payment Amount
                              1/11/2016               $124.00
                              1/11/2016               $250.00
                              1/11/2016               $169.00
                              1/11/2016               $610.00
                              1/11/2016               $441.00
                              1/11/2016               $466.00
                              1/11/2016               $467.00
                              1/11/2016               $385.00
                              1/11/2016               $994.00
                              1/11/2016               $343.00
                              1/11/2016               $383.00
                              1/11/2016               $154.00
                              1/11/2016                $74.00
                              1/11/2016                $11.00
                              3/17/2016             $4,164.00
                              3/17/2016             $3,298.00
                              3/17/2016             $6,390.00
                              3/17/2016             $2,987.00
                              3/17/2016             $1,956.00
                              3/17/2016             $1,460.00
                              3/17/2016             $4,128.00
                              3/17/2016               $820.00
                              3/17/2016             $3,269.00
                              3/17/2016             $5,918.00
                              3/17/2016               $976.00
                              3/17/2016               $906.00
                              3/17/2016             $3,091.00
                              3/17/2016               $689.00
                              3/17/2016             $1,488.00
                              3/17/2016               $918.00
                              3/17/2016             $5,042.00
                              3/17/2016               $670.00
                              3/17/2016             $1,250.00
                              3/21/2016               $177.00
                              3/21/2016             $1,254.00
                              3/21/2016             $2,007.00
                               4/4/2016             $1,517.00
                               4/4/2016               $993.00
                               4/4/2016                $16.00
                               4/4/2016                $90.00
                               4/4/2016               $475.00
                               4/4/2016             $1,122.00
                               4/4/2016               $968.00
                               4/4/2016                $84.00
                               4/4/2016               $985.00
                               4/4/2016               $905.00

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                 TRANSFERS TO RAMON E. MORALES dba MORALES DISTRIBUTORS
                                Date        Payment Amount
                               4/4/2016             $1,055.00
                               4/4/2016               $721.00
                               4/4/2016             $1,917.00
                               4/4/2016                $35.00
                               4/4/2016               $103.00
                               4/4/2016               $200.00
                               4/4/2016               $506.00
                               4/4/2016               $139.00
                               4/4/2016               $183.00
                               4/4/2016                $35.00
                               4/8/2016               $502.00
                               4/8/2016               $592.00
                               4/8/2016               $736.00
                               4/8/2016               $804.00
                               4/8/2016               $918.00
                              4/12/2016             $1,757.00
                              4/12/2016             $1,680.00
                              4/12/2016             $1,337.00
                              4/12/2016             $2,766.00
                              4/12/2016             $2,128.00
                              4/12/2016               $611.00
                              4/12/2016               $298.00
                              4/12/2016             $2,077.00
                              4/12/2016               $204.00
                              4/12/2016             $1,974.00
                              4/12/2016             $2,674.00
                              4/12/2016             $1,065.00
                              4/12/2016             $1,397.00
                              4/12/2016               $284.00
                              4/12/2016             $2,332.00
                               5/5/2016             $5,761.00
                               5/5/2016             $4,283.00
                               5/5/2016             $4,971.00
                               5/5/2016             $4,289.00
                               5/5/2016             $2,307.00
                               5/5/2016             $3,461.00
                               5/5/2016             $1,728.00
                               5/5/2016             $3,008.00
                               5/5/2016             $1,132.00
                               5/5/2016             $1,394.00
                               5/5/2016             $1,792.00
                               5/5/2016             $1,837.00
                               5/5/2016             $2,615.00
                               5/5/2016             $2,788.00
                               5/5/2016             $3,248.00
                               5/5/2016             $1,591.00

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                 TRANSFERS TO RAMON E. MORALES dba MORALES DISTRIBUTORS
                                Date        Payment Amount
                               5/5/2016             $1,184.00
                               5/5/2016             $2,160.00
                               5/5/2016             $2,263.00
                               5/5/2016             $1,504.00
                               5/5/2016             $1,335.00
                               5/5/2016             $1,607.00
                               5/6/2016             $1,972.00
                               5/6/2016             $1,020.00
                              5/10/2016             $2,394.00
                              5/10/2016             $2,714.00
                              5/10/2016             $4,428.00
                              5/10/2016               $933.00
                              5/10/2016             $4,432.00
                              5/10/2016             $5,621.00
                              5/10/2016             $2,237.00
                              5/10/2016             $4,973.00
                              5/10/2016             $2,619.00
                              5/10/2016               $817.00
                              5/10/2016               $611.00
                              5/11/2016             $1,213.00
                              5/11/2016             $1,980.00
                              5/24/2016                $66.00
                              5/24/2016                $92.00
                              5/24/2016               $512.00
                              5/24/2016             $3,043.00
                              5/24/2016             $3,162.00
                              5/24/2016               $125.00
                              5/24/2016             $4,788.00
                              5/24/2016             $1,146.00
                              5/24/2016             $2,945.00
                              5/24/2016             $1,259.00
                              5/24/2016               $637.00
                              5/24/2016             $2,165.00
                              5/24/2016             $3,994.00
                              5/24/2016             $2,727.00
                              5/24/2016             $1,774.00
                              5/24/2016             $1,725.00
                              5/24/2016               $428.00
                              5/24/2016               $399.00
                              5/24/2016             $2,640.00
                              5/24/2016             $1,441.00
                              5/24/2016             $4,380.00
                              5/24/2016             $3,935.00
                              5/24/2016             $5,043.00
                              5/24/2016             $3,522.00
                              6/20/2016             $5,930.00

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                 TRANSFERS TO RAMON E. MORALES dba MORALES DISTRIBUTORS
                                Date        Payment Amount
                              6/20/2016             $4,234.00
                              6/20/2016             $2,499.00
                              6/20/2016             $2,484.00
                              6/20/2016             $5,085.00
                              6/20/2016             $5,246.00
                              6/20/2016             $2,564.00
                              6/20/2016             $3,203.00
                              6/24/2016               $125.00
                              6/24/2016               $614.00
                              7/11/2016            $22,052.00
                              7/12/2016                $40.00
                              7/21/2016               $464.00
                              7/21/2016               $117.00
                              7/21/2016             $2,671.00
                              7/21/2016             $1,801.00
                              7/21/2016             $4,315.00
                              7/21/2016            $31,573.00
                              8/15/2016               $390.00
                              8/15/2016             $2,109.00
                              8/15/2016               $443.00
                              8/15/2016             $2,564.00
                              8/15/2016             $4,670.00
                              8/15/2016               $663.00
                              8/15/2016               $851.00
                              8/15/2016             $1,243.00
                              8/16/2016             $1,669.00
                              8/16/2016               $478.00
                              8/24/2016             $1,484.00
                              9/12/2016             $1,562.00
                              9/23/2016               $904.00
                              9/29/2016             $4,650.00
                              9/29/2016               $592.00
                              9/29/2016             $3,130.00
                              9/29/2016               $112.00
                              9/29/2016               $368.00
                              9/29/2016               $734.00
                             10/12/2016            $10,611.00
                             10/12/2016             $6,754.00
                             10/12/2016             $8,877.00
                             10/12/2016                $35.00
                             10/12/2016               $432.00
                              11/7/2016             $7,068.00
                              11/7/2016             $6,372.00
                              11/7/2016               $234.00
                              11/7/2016             $1,826.00
                             11/22/2016            $16,920.00

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                 TRANSFERS TO RAMON E. MORALES dba MORALES DISTRIBUTORS
                                Date        Payment Amount
                             12/16/2016               $200.00
                             12/21/2016               $288.00
                             12/30/2016                $70.00
                               1/4/2017             $1,963.00
                               1/4/2017            $19,936.00
                               1/4/2017             $3,464.00
                              1/31/2017            $42,168.00
                               2/7/2017             $9,414.00
                               2/7/2017             $2,490.00
                              2/10/2017             $1,725.00
                              2/10/2017             $4,120.00
                              2/10/2017               $216.00
                              2/10/2017               $285.00
                              2/10/2017               $376.00
                              2/21/2017             $2,751.00
                              2/21/2017             $8,638.00
                              2/21/2017            $12,374.00
                               3/2/2017               $115.00
                               3/6/2017            $21,604.00
                               3/9/2017             $8,713.00
                               3/9/2017               $284.00
                              3/17/2017               $524.00
                              3/17/2017               $524.00
                              3/17/2017               $786.00
                              3/17/2017               $524.00
                              3/17/2017               $524.00
                              3/17/2017            $10,660.00
                              3/23/2017             $6,603.00
                              3/23/2017               $113.00
                               4/4/2017            $12,794.00
                               4/4/2017               $775.00
                              4/20/2017             $8,049.00
                              4/21/2017             $2,911.00
                              4/21/2017             $2,725.00
                              4/21/2017             $3,318.00
                              4/24/2017               $257.00
                              4/24/2017               $653.00
                              4/24/2017             $2,778.00
                              4/24/2017             $3,258.00
                              4/24/2017             $2,920.00
                              4/24/2017             $5,701.00
                              4/24/2017             $7,484.00
                              4/24/2017             $3,521.00
                              4/24/2017             $2,150.00
                              4/24/2017                $20.00
                              4/24/2017             $5,954.00

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                 TRANSFERS TO RAMON E. MORALES dba MORALES DISTRIBUTORS
                                Date        Payment Amount
                              4/24/2017                $77.00
                              4/24/2017               $524.00
                              4/24/2017               $273.00
                              4/24/2017             $2,707.00
                              4/24/2017             $3,505.00
                              4/24/2017             $3,118.00
                              4/24/2017             $3,873.00
                               5/2/2017               $726.00
                               5/2/2017             $3,029.00




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